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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

         v.
                                                        Case No.: 1:21-cr-00447-CJN-2

 JOSEPH DANIEL HUTCHINSON III


                    MOTION TO MODIFY CONDITIONS OF RELEASE
                             TO ALLOW TRAVEL FOR
                            THE CHRISTMAS HOLIDAY
                                AND A WEDDING


        COMES NOW, the Defendant, Joseph Daniel Hutchinson III, by and through his

undersigned counsel, and herein respectfully moves the Court to modify the conditions of his

pretrial release to allow him to travel out of the arresting district to celebrate the Christmas

Holiday with his family, and to celebrate the wedding of his lifelong friend. Counsel submits the

following in support of this motion.

                                                  (1)

       Mr. Hutchinson was arrested in the Middle District of Georgia on June 30, 2021, pursuant

to a sealed complaint filed June 25, 2021. (MDGA Case 5:21-mj-00056 (Hereinafter “MDGA-

Doc.”, 2) He made his first appearance, and was released from custody under certain conditions.

(MDGA-Doc.11) He was indicted July 1, 2021. (DCD Case 1:21-cr-00447 (Hereinafter “DCD-

Doc.”, 8). He made his first appearance in the charging district via video teleconference on July

8, 2021 and was arraigned. (DCD Case 1:21-cr-00447 (Hereinafter “DCD-Doc.”, 07/08/2021 text

docket entry) He was given an appearance bond and released on certain conditions of release.

(DCD-Doc.21).

                                                  (2)
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       Since his release, Mr. Hutchinson has been working for his father at a used merchandise

store that his father owns and operates in Albany, GA. Mr. Hutchinson grew up in Lakeland, FL

and members of his family still live there. On November 23, 2021 Mr. Hutchinson filed a motion

seeking to modify his conditions of pretrial release to allow him to travel back to Lakeland, FL to

celebrate the Thanksgiving holiday with family and friends. (DCD-Doc.65) Following a hearing

on the motion later that same day, the court granted the motion and issued the associated order.

(DCD-Doc.66) Mr. Hutchinson then traveled to Florida for the Thanksgiving holiday and returned

to Albany, GA where he has been living during the pendency of this case. Mr. Hutchinson adhered

to every condition placed upon the court’s permission for him to make that trip. There were no

problems or violations at all.

                                                 (3)

       Mr. Hutchinson’s conditions of release include both home detention and a requirement that

he notify the Middle District of Georgia “in advance of all travel outside the jurisdiction.” (Doc.21,

7(t)) Any travel outside the continental United States must be approved by the court.

       Although the court’s order only requires notification for travel outside the jurisdiction,

United States Probation has taken the position that the Home Detention condition (7(p)(ii))

requires court approval for travel outside of the district. Consequently, Mr. Hutchinson, through

counsel, now files this motion seeking such an order.

       Mr. Hutchinson respectfully requests the modification for two events. First, to celebrate

the Christmas holiday with his family in Lakeland, FL. Second, to celebrate the wedding of his

lifelong friend, Joshua Doolin, also in Lakeland, FL. As the court is aware, Mr. Doolin is a co-

defendant in this case. As the court is also aware, neither Mr. Hutchinson, Mr. Doolin, nor any of

the co-defendants in this case are prevented from seeing or communicating with each other by any
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conditions of their various orders setting conditions of pretrial release.     And finally, Mr.

Hutchinson would note that during his uneventful trip to celebrate Thanksgiving, Mr. Doolin

visited Mr. Hutchinson at the home he was confined to in Lakeland, FL with no incident or other

problems at all. As one of Mr. Doolin’s best friends, Mr. Hutchinson is proud to be one of six

groomsmen and a member of the wedding party. As such, he would be included in all the

traditional events celebrating the wedding.

                                                (4)

          Mr. Hutchinson respectfully requests an order from the court authorizing the following

travel:

    I. CHRISTMAS HOLIDAY – DEMEMBER 24-25, 2021

    •     Mr. Hutchinson would leave Albany, GA the morning of December 24, 2021, and
             return to his home in Albany, GA on December 25, 2021.

    •     Mr. Hutchinson would travel by driving his vehicle from Albany, GA to Lakeland,
             FL and back.

    •     Mr. Hutchinson would stay in the same home he stayed at during his uneventful
          Thanksgiving trip: the home of his adopted brother, located at 5001 Lewellyn Rd,
          Lot 1, Lakeland, FL 33810.

    •     Mr. Hutchinson would be confined to the residence at 5001 Lewellyn Rd. in
          Lakeland throughout his stay there, consistent with the terms of the Home
          Detention condition of his pretrial release.

    •     Mr. Hutchinson would comply with US Probation’s GPS location monitoring
          program throughout the trip, to include taking the GPS “beacon” device from his
          home in Albany, GA, ensuring its accurate placement in the residence at 5001
          Lewellyn Rd in Lakeland, as well as reversing the process when he returns home
          the following day.




    II. MR. DOOLIN’S WEDDING – DECEMBER 30, 2021 – JANUARY 5, 2022.
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•   Mr. Hutchinson would leave Albany, GA the morning of December 30, 2021, and
    return to his home in Albany, GA on January 5, 2022.

•   Mr. Hutchinson would travel by driving his vehicle from Albany, GA to Lakeland,
    FL and back.

•   Mr. Hutchinson would stay at the home where he lived prior to moving to Albany,
    GA: 3405 Duff Rd., Lakeland FL 33810. That is the home of Thomas Osborne,
    one of Mr. Hutchinson’s lifelong friends. Mr. Osborne will also be attending the
    wedding.

•   Mr. Hutchinson would be confined to the residence at his 3405 Duff Rd., Lakeland
    FL 33810, consistent with the terms of the Home Detention condition of his pretrial
    release, but for the following events:

    1. Final fitting for his wedding suit. (Mr. Hutchinson is one of the groomsmen.)
          a. December 31, 2021.
          b. Lakeland Square Mall, 3800 US Hwy 98 N, Lakeland, FL 33809

    2. Bachelor Party
          a. January 1, 2022.
          b. Texas de Brazil, 4112 W Boy Scout Blvd, Tampa, FL 33607

    3. Rehearsal Dinner
          a. January 3, 2022.
          b. Cleveland Heights Baptist Church, 3120 Cleveland Heights Blvd,
             Lakeland, FL

    4. Wedding
         a. January 4, 2022.
         b. Cleveland Heights Baptist Church, 3120 Cleveland Heights Blvd,
             Lakeland, FL


    5. Wedding Reception
         a. January 4, 2022.
         b. Magnolia Building, 702 E Orange St, Lakeland, FL 33801

•   Mr. Hutchinson would comply with US Probation’s GPS location monitoring
    program throughout the trip, to include taking the GPS “beacon” device from his
    home in Albany, GA, ensuring its accurate placement in the residence at 3405 Duff
    Rd., Lakeland FL 33810, as well as reversing the process when he returns home on
    January 5, 2022.


                                            (5)
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        Mr. Hutchinson, through counsel, has discussed this proposed travel with the government

and US Probation. US Probation has informed the parties about the logistics of the GPS

monitoring during the travel, will contact the US Probation officer in the Middle District of Florida

should the court authorize the travel, and will continue to supervise Mr. Hutchinson while in

Florida.

        Counsel for the defense contacted the government and is authorized to relate their position

to the court:

                First, the government does not oppose the travel for the Christmas holiday
                as outlined in this pleading.

                Second, the government does oppose the requested permission to travel for
                the Doolin wedding celebration.

        Mr. Hutchinson grew up with the co-defendants as close family friends and has consistently

shared their company at various important events over his entire life. Because none of the three

co-defendants have a no-contact condition of their conditions of pretrial release, and because Mr.

Hutchinson has been in compliance with his conditions of pretrial release to date, Mr. Hutchinson

files this motion with the court.



        WHEREFORE, because this request is reasonable, consistent with the current conditions

of pretrial release and because it otherwise would be just and fair to grant the request, Mr.

Hutchinson, through counsel, respectfully requests the court grant the motion and issue an order

authorizing Mr. Hutchinson’s travel to participate in the wedding ceremony of Mr. Doolin, as

outlined above.



        Dated this 17th day of December 2021.
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                           Respectfully submitted,


                           /s/Timothy R. Saviello
                           Timothy R. Saviello
                           Ga. Bar No. 627820

                           Federal Defenders of the
                           Middle District of Georgia, Inc.
                           440 Martin Luther King Jr. Blvd.
                           Suite 400
                           Macon, GA 31201
                           Tel: (478) 743-4747
                           Fax: (478) 207-3419
                           Email: tim_saviello@fd.org
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                            CERTIFICATE OF SERVICE


       I, Timothy R. Saviello, hereby certify that I electronically filed the foregoing pleading

with the clerk of Court using the CM/ECF system which will send notification of such to all

counsel of record.


                                             /s/Timothy R. Saviello
                                             Timothy R. Saviello
                                             Ga. Bar No. 627820

                                             Federal Defenders of the
                                             Middle District of Georgia, Inc.
                                             440 Martin Luther King Jr. Blvd.
                                             Suite 400
                                             Macon, GA 31201
                                             Tel: (478) 743-4747
                                             Fax: (478) 207-3419
                                             Email: tim_saviello@fd.org
